     Case 2:20-cv-03557-VAP-PLA Document 26 Filed 08/25/20 Page 1 of 1 Page ID #:124




 1

 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 8

 9    RONALD FAY,                                    Case No.: 2:20-cv-03557-VAP-PLA
10                   Plaintiff,                       ORDER OF DISMISSAL WITH
11    v.                                              PREJUDICE AS TO
                                                      DEFENDANT SYNCHRONY
12    SYNCHRONY BANK,
13                  Defendant.
14

15

16

17           Upon review of the Parties’ Stipulation of Dismissal with Prejudice of Defendant
18    Synchrony Bank, and good cause appearing, IT IS ORDERED that the Stipulation is
19
      GRANTED.
20
             The above-entitled matter is hereby dismissed with prejudice, as to Defendant Synchrony
21
      Bank, with the parties to bear their own attorneys’ fees, costs, and expenses.
22
             IT IS SO ORDERED.
23
      Dated: August 25, 2020
24
                                                               Honorable Virginia A. Phillips
25
                                                               United States District Judge




                                                      -1-
